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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


UNITE HERE HEALTH, et al.,                           )
                                                     )
                              Plaintiffs,            )       CIVIL ACTION
                                                     )
       vs.                                           )       NO. 17 C 6865
                                                     )
LE PERIGORD, INC., d/b/a LE PERIGORD                 )       JUDGE ANDREA R. WOOD
RESTAURANT,                                          )
                                                     )
                              Defendant.             )


                          MOTION FOR ENTRY OF JUDGMENT

       Plaintiffs, by and through their attorneys, default having been entered against the Defendant

on November 20, 2018, request this Court enter judgment against Defendant, LE PERIGORD, INC.,

d/b/a LE PERIGORD RESTAURANT. In support of this Motion, Plaintiffs state:

       1.      On November 20, 2018, this Court entered default against Defendant and granted

Plaintiffs’ request for an order directing an audit of the Defendant’s payroll books and records for

the time period January 1, 2015 through March 11, 2017. The Court also entered an order that

judgment would be entered after the completion of the audit.

       2.      On or about April 15, 2019, Plaintiffs’ auditors completed the audit. Preliminary

findings were sent to the Defendant’s attorney on April 15, 2019. The final audit findings were sent

to the Defendant’s attorney on May 17, 2019. The audit findings show that the Defendant is

delinquent in contributions to the Funds in the amount of $158,741.09. (See Affidavit of Debbie

Sippos).
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           3.         Additionally, the amount of $31,748.21 is due for liquidated damages and $3,531.88

is due for interest. (Sippos Aff. Par. 4). Plaintiffs' auditors charged Plaintiffs $4,168.05 to perform

the audit examination and complete the report (Sippos Aff. Par. 5).

           4.         In addition, Plaintiffs’ firm has expended $1,148.59 for costs and $11,875.00 for

attorneys’ fees in this matter. (See Affidavit of Laura M. Finnegan).

           5.         Based upon the documents attached hereto, Plaintiffs request entry of judgment in the

total amount of $211,212.82.

           WHEREFORE, Plaintiffs respectfully request this Court to enter judgment in the amount of

$211,212.82.


                                                                    /s/ Laura M. Finnegan




Laura M. Finnegan
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                                               CERTIFICATE OF SERVICE

        The undersigned, an attorney of record, hereby certifies that she electronically filed the
foregoing document (Motion for Entry of Judgment) with the Clerk of Court using the CM/ECF
system, and further certifies that I have mailed the above-referenced document by United States Mail
to the following non-CM/ECF participants on or before the hour of 5:00 p.m. this 5th day of June
2019:

                                            Mr. Georges Briguet
                                            415 E. 52nd Street, Apartment 5JC
                                            New York, NY 10022

                                            Mr. Christopher P. Briguet
                                            15847 81st Street
                                            Howard Beach, NY 11414-2920

       I further certify that I have served the above-referenced document by both United States Mail
and Email to the following non-CM-ECF participant on or before the hour of 5:00 p.m., this 5th day
of June 2019:

                                            Mr. Michael Ferrari
                                            Farber Schneider Ferrari, LLP
                                            261 Madison Avenue, 26th Floor
                                            New York, NY 10016-2303
                                            mferrari@fsfllp.com


                                                                        /s/ Laura M. Finnegan


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